                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                             5:06CV23-2-V
                            (5:03CR4-2-V)


MANUEL VASQUEZ MORENO,        )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon petitioner’s “Motion

to Vacate, Set Aside, or Correct” under 28 U.S.C. §2255,” filed

January 31, 2006.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on

January 29, 2003, a twelve-Count Bill of Indictment was filed,

charging the petitioner (along with 16 other individuals) with

conspiracy to possess with intent to distribute five kilograms or

more of cocaine powder and 50 grams or more of cocaine base, all

in violation of 21 U.S.C. §846 (Count One).           The petitioner’s

co-defendants also were charged with numerous other offenses,

including several counts of possession with intent to distribute

cocaine and cocaine base, and using and carrying firearms during

and in relation to drug trafficking offenses.

      On July 29, 2003, a Superceding Bill of Indictment was




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filed, which added both defendants and charges to the case; how-

ever, such Indictment did not alter the single conspiracy charge

against the petitioner.

     In the meantime, by June 10, 2003, the petitioner had enter-

ed into a written Plea Agreement with the government.            By the

terms of the parties’ Agreement, the petitioner agreed to plead

guilty to the conspiracy charge set forth in Count One of the

Indictment in exchange for the government’s promise to recommend

a three-point offense level reduction for the petitioner’s full

disclosure of his own relevant conduct.

     Pertinent to the instant Motion, the petitioner also stipu-

lated to several matters, including that his sentence should be

calculated based upon his involvement with more than 15 but less

than 50 kilograms of powder cocaine; that the Base Offense Level

for the subject offense was 34; and that a two-level management

enhancement was appropriate under U.S. Sentencing Guidelines

§3B1.1(c).

     Critically, the parties’ Agreement did not preclude the im-

position of any other enhancements to the petitioner’s sentence.

Rather, the Plea Agreement set forth the parties’ understanding

that “if the Probation Office determine[d] that a different of-

fense level not addressed in th[at A]greement applie[d], and the

Court f[ound] that the Probation Office [was] correct, then the

Court w[ould] use that offense level or Guideline in determining

the sentence.”

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     On September 25, 2003, the Court conducted a Plea & Rule 11

Hearing, during which the Court engaged the petitioner in a

lengthy colloquy to ensure that his guilty plea was being intel-

ligently and voluntarily tendered.       In particular, the petitioner

advised the Court, inter alia, that he understood and agreed to

all of the terms of his Plea Agreement; that no one had threaten-

ed, coerced, intimidated him, or had promised him lenient

treatment in order to induce his guilty plea; that he was satis-

fied with counsel’s services; and that he, in fact, was guilty of

the subject charge.    Thus, based upon the petitioner’s sworn

assurances, the Court accepted his guilty plea.

     Next, on September 7, 2004, the government filed its “Motion

For A Downward Departure . . . .”       Even after calculating the

benefits of his Plea Agreement, the government reported that the

petitioner’s offense level and his criminal history category

(35/I) exposed him to a term of 168 to 210 months imprisonment.

However, the petitioner had provided substantial assistance to

the government; therefore, the government asked the Court to

reduce the petitioner’s Offense Level to 30, and to impose a

sentence of 120 months imprisonment.

     Subsequently on September 7, 2004, the Court held a Factual

Basis & Sentencing Hearing.      During the initial stages of the

Hearing, the petitioner addressed his concerns about proceeding

with the Hearing.    Specifically, the petitioner told the Court

that he had spoken with a family member whose “husband had had

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problems with drugs,” and such family member had agreed to help

him replace his retained attorney with another attorney.             How-

ever, the Court concluded that the petitioner had failed to

demonstrate that his attorney should be discharged, or that his

case should be continued so that he could obtain replacement

counsel.   Therefore, the Court denied the petitioner’s de facto

motion for a continuance.

     Next, the Court entertained the petitioner’s objection to

the Pre-Sentence Report.     On that point, counsel for the peti-

tioner argued that the petitioner should not receive a firearm

enhancement because he had not personally possessed a firearm.

In response, the government called upon the case agent, presuma-

bly so that he could testify concerning the co-conspirators who

were charged with firearms violations under 18 U.S.C. §924(c)(1)

in Counts Five and Seven of the Indictment (defendants Jose Rios,

Roderick Williams, Jose Rivera and Mario Carbajal).            However,

shortly after the agent began to testify, defense counsel advised

the Court that the petitioner wanted to withdraw his objection to

the firearm enhancement.

     Thereafter, the Court accepted the calculations set forth in

the petitioner’s Pre-Sentence Report, and granted the govern-

ment’s downward departure Motion.       The Court then allowed the

petitioner to speak on his own behalf, at which time the peti-

tioner did not complain about any difficulties with counsel; nor

did he complain about the proposed sentence enhancements.

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Instead, the petitioner simply reported that he had some addi-

tional information concerning drug dealing activities which he

wanted to provide to the government.        However, the Court asked

the petitioner to wait and reveal that information to the

prosecutor at a more appropriate time.

     Ultimately, the Court sentenced the petitioner to a term of

120 months imprisonment pursuant to the Sentencing Guidelines.

However, the Court also acknowledged the recent ruling in Blakely

v. Washington, 542 U.S. 296 (2004), and indicated in accordance

with United States v. Hammoud, 381 F.3d 316 (4th Cir. 2004), that

it would announce an alternative provisional sentence of 120

months imprisonment under 18 U.S.C. §3553(a).

     At the conclusion of the Hearing, the petitioner advised the

Court that he wanted to appeal his case, but with a different

attorney.   Thereafter, the Fourth Circuit Court of Appeals ap-

pointed new counsel for the petitioner, and he proceeded with his

appeal.

     On appeal, the petitioner’s new attorney filed a brief under

Anders v. California, 386 U.S. 738 (1967), essentially represent-

ing that he had not found any meritorious issues for appeal.

United States v. Moreno, 147 Fed. Appx. 328 (unpublished) (4th

Cir. 2005).   Nevertheless, appellate counsel did question whether

trial counsel had been ineffective in his representation of the

petitioner.

     Not surprisingly, the Court of Appeals reiterated its long-

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standing position that claims against counsel cannot proceed on

direct appeal “unless it appears conclusively from the record

that counsel’s performance was ineffective.”          Further, the Court

found that there was no such record of ineffectiveness.               In fact,

the appellate Court stated that “the record reveal[ed] quite

competent representation as [the petitioner] received the statu-

tory mandatory minimum sentence, when prior to his plea, he was

facing a possible sentence over twice as long.”              However, the

Court advised the petitioner that if he had other evidence on the

issue of counsel’s performance, he could present it in a motion

to vacate.   Consequently, the Court affirmed the petitioner’s

conviction and sentence.

     Undaunted by his lack of success, on January 31, 2006, the

petitioner filed the instant Motion to Vacate, alleging that

counsel was ineffective in three ways.        First, the petitioner

claims that counsel was ineffective because he failed to “secure

a beneficial plea agreement” for him.       Second the petitioner

claims that counsel was ineffective because he failed to object

to the Pre-Sentence Report’s recommendation for the firearm

enhancement.   Third, the petitioner claims that counsel was

ineffective because he failed “to preserve [the petitioner’s]

. . . Blakely issues.”

     Notwithstanding his obvious beliefs to the contrary, how-

ever, this Court has carefully reviewed the instant Motion along

with the relevant documents from the record, and the Court has

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determined that this Motion should be summarily denied and

dismissed for lack of merit.

                             II.   ANALYSIS

               The petitioner cannot demonstrate either
               deficient performance or prejudice on his
               claims of ineffective assistance of counsel.

     As has been noted, the petitioner explains in his Memorandum

of Law that the “sole issue [sic]” is whether counsel subjected

him to ineffective assistance by: a) failing to secure a bene-

ficial plea agreement; b) failing to object to the firearm

enhancement recommendation; and c) failing to “preserve” the

petitioner’s “Blakely issues.”      Nevertheless, as the Court will

explain below, these claims must fail, ultimately because the

petitioner is both mistaken as to the facts of his case, and/or

the legal significance of those facts as they pertain hereto.

     Indeed, with respect to allegations of ineffective assis-

tance of counsel, a petitioner must show that counsel's

performance was constitutionally deficient to the extent it fell

below an objective standard of reasonableness, and that he was

prejudiced thereby.    Strickland v. Washington, 466 U.S. 668, 687-

91 (1984).   In making this determination, there is a strong

presumption that counsel's conduct was within the wide range of

reasonable professional assistance. Id. at 689; see also Fields

v. Attorney Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir.),

cert. denied, 474 U.S. 865 (1985); Hutchins v. Garrison, 724 F.2d


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1425, 1430-31 (4th Cir. 1983), cert. denied, 464 U.S. 1065

(1984); and Marzullo v. Maryland, 561 F.2d 540 (4th Cir. 1977),

cert. denied, 435 U.S. 1011 (1978).

     Furthermore, in considering the prejudice prong of the

analysis, the Court must not grant relief solely because the

petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.              Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).   Rather, the Court “can only grant relief under . . .

Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506

U.S. 364, 369 (1993).        Under these circumstances, the petitioner

“bears the burden of proving Strickland prejudice.”              Fields, 956

F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31.              If the peti-

tioner fails to meet this burden, a “reviewing court need not

consider the performance prong.”          Fields, 956 F.2d at 1290,

citing Strickland, 466 U.S. at 697.

     More critically, a petitioner who alleges ineffective assi-

stance of counsel following the entry of a guilty plea has an

even higher burden to meet.        See Hill v. Lockhart, 474 U.S. at

53-59; Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845

F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S. 843 (1988).                  The

Fourth Circuit described the petitioner’s additional burden in a

post-guilty plea claim of ineffective assistance of counsel as

follows:

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           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”


Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In evaluating post-guilty plea claims of ineffective assis-

tance of counsel, statements previously made under oath affirming

satisfaction with counsel are deemed binding in the absence of

“clear and convincing evidence to the contrary.”             Fields, 956

F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-75

(1977).

     At the outset of its discussion of the petitioner’s claims,

the Court notes that despite his having filed the instant Motion

and a multi-page supporting Memorandum, nowhere in those docu-

ments does the petitioner assert or even suggest that but for

counsel’s alleged ineffectiveness, he would not have pled guilty

and would have insisted upon going to trial.          Such omission is

both telling and legally significant in that it vastly undermines

the petitioner’s ability to demonstrate that he was prejudiced in

this case.

     1.   The petitioner’s complaint about counsel’s negoti-
          ation of his Plea Agreement is feckless.

     Notwithstanding the foregoing omission, the record fore-


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closes the petitioner’s entitlement to relief in any event.             To

put it plainly, the petitioner is mistaken about the facts of his

case.     That is, the petitioner claims that counsel failed to

secure a beneficial plea agreement for him.         However, as was

noted by the appellate Court, prior to entering into the Agree-

ment which counsel negotiated, the petitioner “was facing a

possible sentence over twice as long” as the one he ultimately

received.

     To put it simply, by signing that Agreement, the peti-

tioner’s potential exposure was limited by virtue of his

stipulation to involvement with an amount of drugs which was much

lower than the amount for which the government could have sought

to hold him accountable.     Thus, the petitioner simply is mistaken

as to the value of his former attorney’s efforts in this regard.

     2.    The petitioner’s claim about counsel’s alleged
           failure to object is foreclosed by the record.

     Second, as to his claim that counsel failed to object to the

firearm enhancement, again the petitioner is mistaken.            To be

sure, as was already noted, counsel did initially object to the

subject enhancement during the Sentencing Hearing, but he

subsequently withdrew the objection after discussing the matter

with the petitioner.     Therefore, the Court finds that this claim

is factually baseless.

     Moreover, even if counsel had not objected, the petitioner

still could not demonstrate any prejudice on this claim.            Indeed,

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the petitioner’s secondary arguments are based upon his erroneous

beliefs that his Plea Agreement precluded the subject enhance-

ment, and/or that he could not be subjected to it because he

personally did not possess a firearm.

     As to the first misconception, the petitioner’s Plea Agree-

ment simply did not contain any language which limited his

enhancements only to those upon which the parties had agreed.               On

the contrary, the parties’ Agreement expressly acknowledged that

if the Probation Office found that a Guideline provision which

was not addressed in the Agreement was applicable to the peti-

tioner--such as the one pertaining to a firearm enhancement, and

the Court also found it to be applicable, then such provision

would be used to calculate the petitioner’s sentence.            Thus, the

petitioner has no factual basis to argue that his Plea Agreement

precluded the imposition of a firearm enhancement.

     As for the second misconception, the matter of whether or

not the petitioner actually possessed a firearm was irrelevant at

the time that the petitioner was sentenced.         Indeed, the Guide-

line provision in question provided that the subject enhancement

could be imposed by the Court under the preponderance of the

evidence standard “[i]f a dangerous weapon was possessed” during

the commission of the drug offense unless it is clearly improba-

ble that the weapon was connected thereto.         U.S. Sentencing

Guideline §2D1.1(b)(1).     Furthermore, the law was clear that pos-

session of a dangerous weapon by a co-defendant was a sufficient

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basis for the enhancement, so long as the co-defendant’s conduct

was “in furtherance of . . . jointly undertaken criminal activity

and was reasonably foreseeable by the defendant.”           United States

v. Nelson, 6 F.3d 1049, 1054-57      (4th Cir. 1993).

     Here, the petitioner does not deny that his co-conspirators

used, carried and/or possessed firearms in violation of 18 U.S.C.

§924(c)(1) as was alleged in the Indictment.         Nor does the peti-

tioner specifically deny the Pre-Sentence Report’s representation

that on an occasion, he directed a co-conspirator over whom he

exercised control to possess an AK-47 rifle while such hireling

stood watch for the petitioner.      Therefore, the petitioner’s

self-serving protestations of innocence simply were not a barrier

to the application of the enhancement.

     Moreover, while the case of Blakely v. Washington, 542 U.S.

296 (2004) (generally holding that courts must no longer use

judge-made findings--such as the ones made in connection with the

imposition of the challenged firearm enhancement-–in calculating

sentences) was decided prior to the time that the petitioner was

sentenced, at the time of that decision it was widely understood

in the legal community that Blakely’s facts made it inapplicable

in the federal court context.     In fact, it was not until the year

after the petitioner was sentenced that the U.S. Supreme Court

made its holding from Blakely applicable in the federal court.

See United States v. Booker/Fanfan, 543 U.S. 220 (2005).            There-

fore, the petitioner was sentenced in accordance with the law as

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it then existed, and he cannot establish that counsel was de-

ficient for having failed to anticipate the subsequent change

which was announced by the Booker decision.

     Most critically, it has not escaped the undersigned’s atten-

tion that at the time that the Court announced the petitioner’s

120-month sentence pursuant to the Guidelines, it also advised

the parties that, notwithstanding the Blakely decision, it would

have imposed the same 120-month sentence in accordance with the

relevant factors set forth under 18 U.S. C. §3553((a).            Thus,

even if the firearm enhancement had been omitted, it is clear on

this record that the petitioner would have received the exact

same sentence as was actually imposed.       Consequently, he cannot

possibly demonstrate any entitlement to relief on this claim.

     3.   There were no Blakely issues for counsel
          to have preserved for the petitioner.

     Finally, with regard to the petitioner’s last claim that

counsel was ineffective for having failed to “preserve” his

Blakely issues, here he seems to be arguing that since the Blake-

ly ruling was announced several months before he was sentenced,

counsel should have used that time to negotiate a new Plea Agree-

ent which deleted the managerial enhancement provision.            Once

again, however, the petitioner has misapprehended the signifi-

ance of a critical fact.

     To be sure, Blakely does not prevent a court from relying

upon facts which are admitted by a defendant by way of a stipu-


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lation or otherwise.    In fact, Blakely’s language expressly

provides that courts can rely upon facts which have been admitted

by the defendant.   To put it simply, then, defense counsel had no

greater bargaining power after the Supreme Court’s announcement

of the Blakely decision than he had prior to that announcement.

Thus, the petitioner cannot possibly demonstrate that he was

harmed by counsel’s decision not to attempt a post-plea renego-

tiation of the parties’ Agreement.

                            III.   CONCLUSION

     The record of this matter reflects that the petitioner is

not entitled to any relief on his claims against counsel.

Therefore, the instant Motion to Vacate will be denied and

dismissed.

                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the petitioner’s

Motion to Vacate is DENIED and DISMISSED.

     SO ORDERED.



                                         Signed: March 23, 2006




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